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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
________________________________________________
                                                            X
THE NEW YORK TIMES COMPANY,                                 :

                                       Plaintiff,           :
                                                                   COMPLAINT
                       - against -                          :

DEPARTMENT OF HEALTH & HUMAN SERVICES,                      :                             :

                               Defendant.       :
________________________________________________X


       Plaintiff THE NEW YORK TIMES COMPANY, by its undersigned attorneys, alleges as

follows:

       1.      This is an action under the Freedom of Information Act, 5 U.S.C. § 552

(“FOIA”), to obtain an order for the production of agency records from Defendant Department of

Health & Human Services (“HHS”) in response to a request properly made by Plaintiff.

       2.      The FOIA request at issue in this action seeks information related to how the

Indian Health Service (“IHS”)—a component of HHS—responded to warnings about Dr. Stanley

Patrick Weber, a former IHS pediatrician convicted of sexually abusing Native American boys at

a hospital on the Pine Ridge Indian Reservation.

                                               PARTIES

       3.      Plaintiff The New York Times Company publishes The New York Times

newspaper and www.nytimes.com. The New York Times Company is headquartered in this

judicial district at 620 Eighth Avenue, New York, New York, 10018.

       4.      Defendant HHS is an agency of the federal government that has possession and

control of the records that Plaintiff seeks.

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                                 JURISDICTION AND VENUE

       5.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1331 and 5 U.S.C. § 552(a)(4)(B).

       6.      Venue is premised on Plaintiff’s place of business and is proper in this district

under 5 U.S.C. § 552(a)(4)(B).

       7.      Defendant HHS has failed to meet the statutory deadline set by FOIA. See 5

U.S.C. § 552(a)(6)(A)-(B). Plaintiff is therefore deemed to have exhausted all administrative

remedies, pursuant to 5 U.S.C. § 552(a)(6)(C).

                                               FACTS

       8.      On February 24, 2020, The Times submitted a FOIA request to IHS seeking

“[a]ny reports produced by Integritas Creative Solutions LLC investigators regarding Stanley

Patrick Weber.” The Times also sought expedited processing of the request.

       9.      On February 25, 2020, IHS acknowledged receipt of The Times’s request and

assigned it FOIA Case No. 20-063.

       10.     IHS has failed to respond to Plaintiff’s FOIA request within the statutory time

frame required under FOIA.

                                          COUNT ONE

       11.     Plaintiff repeats, realleges, and reincorporates the allegations in the foregoing

paragraphs as though fully set forth herein.

       12.     Defendant HHS is subject to FOIA and must therefore release in response to a

FOIA request any disclosable records in its possession at the time of the request and provide a

lawful reason for withholding any materials as to which it is claiming an exemption.




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       13.     HHS has failed to meet the statutory deadline set by FOIA. See 5 U.S.C. §

552(a)(6)(A)-(B). Accordingly, The Times is deemed to have exhausted its administrative

remedies under FOIA.

       14.     HHS has no lawful basis for declining to release the records requested by The

Times under FOIA.

       15.     Accordingly, The Times is entitled to an order compelling HHS to produce

records responsive to its FOIA request.

                                       REQUEST FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that this Court:

       16.     Declare that the documents sought by its FOIA request, as described in the

foregoing paragraphs, are public under 5 U.S.C. § 552 and must be disclosed;

       17.     Order HHS to provide the requested documents to Plaintiff within 20 business

days of the Court’s order;

       18.     Award Plaintiff the costs of this proceeding, including reasonable attorney’s fees,

as expressly permitted by FOIA; and

       19.     Grant Plaintiff such other and further relief as this Court deems just and proper.




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Dated: New York, New York
       April 16, 2020
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